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                                            July 16, 2024

Via ECF

Honorable LaShann DeArcy Hall
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


           Re:   Unopposed Request for Modification of Bond Conditions
                 United States v. Jontay Porter; 1:24-cr-00270-LDH-JRC

Dear Judge Hall:

I represent Defendant Jontay Porter in the above-captioned matter. The purpose of this letter is to
request a modification of Mr. Porter’s bond conditions. Mr. Porter is requesting permission to play
professional basketball in Europe for employer Promitheas BC, a basketball club located in Patras,
Greece. This request is unopposed by both the United States Attorney’s Office and the United
States Pretrial Services Officer.

Mr. Porter respectfully requests the following modifications to the Order Setting Conditions of
Release:

           -     7(c) be modified to provide for the return of his U.S. Passport;
           -     7(d) be modified to allow for travel in Europe; and
           -     7(f) be modified to allow for Mr. Porter to reside in Patras, Greece.

The modifications would allow Mr. Porter to play and travel with Promitheas BC in the Greek
Basketball League and Champions League in Europe. If approved, he intends to reside in a team
approved residence in Patras, Greece with his wife and expected newborn son. Mr. Porter and his
wife would be accompanied on a regular basis by his mother and mother-in-law. In addition to
family support, Mr. Porter would be under close supervision of his prospective team, Promitheas
BC, which is located at Gerasimou Sklavou 4, Kastelokampos, Patras, Greece, 26442. Club
President Christos Milas and team personnel are aware of his obligations and are very



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accommodating to a proposed schedule of flexibility to meet any obligation or request in New
York as part of this matter.

This proposed modification would not interfere with existing obligations to travel to New York to
comply with any Court obligation. Mr. Porter and his prospective employer understand the
ongoing obligations and the fact Mr. Porter could be called back to the United States at a moment’s
notice. Further, the proposed modification would not interfere with his existing treatment plan,
which is exclusively virtual, and Promitheas BC has made available opportunities to receive in-
person counseling in Patras, Greece as well.

The proposed modification would allow Mr. Porter to pursue a very fortunate – and quickly
diminishing – opportunity to earn income through his primary skillset. Mr. Porter, and more
importantly his agent, believe such an opportunity is unlikely to arise again. As you may know,
Mr. Porter was recently banned from the National Basketball Association. Mr. Porter’s primary
skillset and means of earning a living involve playing professional basketball. He left college early
in 2020 to enter the NBA draft and has not yet finished earning credits towards his college degree.
Since being banned from the NBA there have been no other opportunities available to continue his
basketball career. Mr. Porter has a limited window to earn an income through professional
basketball during his prime earning years as a professional athlete.

I have communicated both with the United States Attorney’s Office and the Pretrial Services
Officer who have no objection. Therefore, I respectfully request the above-described
modifications.



                                                     Respectfully,

                                                     HUSCH BLACKWELL, LLP

                                                     /s/ Jeff Jensen
                                                     Jeff Jensen

cc:    Meghan Baio, Pretrial Services Officer (via email)
       Benjamin Weintraub, Assistant United States Attorney (via email)
       Kaitlin Farrell, Assistant United States Attorney (via email)
       David Berman, Assistant United States Attorney (via email)




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